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 7

 8                      IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              CASE NO.    1:12-CR-00192-LJO

12                      Plaintiff,          ORDER FOR FORFEITURE MONEY JUDGMENT

13        v.

14   MICHAEL CHASE STAFFORD,

15                      Defendant.

16

17        Based upon the United States’ Application for Forfeiture Money

18 Judgment and the plea agreement entered into between plaintiff United

19 States of America and defendant Michael Chase Stafford,

20        IT IS HEREBY ORDERED that

21        1.    The defendant Michael Chase Stafford shall forfeit to the

22 United States the sum of $36,487.00 and that the Court imposes a

23 personal forfeiture money judgment against defendant in that amount.

24        2.    Any funds applied towards such judgment shall be forfeited

25 to the United States of America and disposed of as provided for by

26 law.    Prior to the implementation of sentence, any funds delivered to

27 the United States to satisfy the personal money judgment shall be

28 seized and held by the U.S. Marshals Service, in its secure custody



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 1 and control.

 2         3.     This Order of Forfeiture shall become final as to the

 3 defendant at the time of sentencing and shall be made part of the

 4 sentence and included in the judgment.

 5         4.     The United States may, at any time, move pursuant to Rule

 6 32.2(e) to amend this Order of Forfeiture to substitute property

 7 having a value not to exceed $36,487.00 to satisfy the money

 8 judgment in whole or in part.

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     IT IS SO ORDERED.
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11     Dated:    July 22, 2014                   /s/ Lawrence J. O’Neill
                                            UNITED STATES DISTRICT JUDGE
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      ORDER FOR FORFEITURE MONEY JUDGMENT    2
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